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Joseph & Michelle Vega Guerrero ee re

September 8, 2018

Magistrate Judge Marianne B. Bowler

John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300

Boston, Massachusetts 02210

RE: Mr. Ross McLellan
Case No. 16-cr-10094-LTS

Dear Judge Bowler,

| am writing to you regarding the pending sentencing of Ross McLellan, my friend and fellow
Hingham resident. | have known Ross for about 10 years. | met Ross, and his wonderful
family, when other friends arranged for an outing at Duxbury Beach. Admittedly, | at first
thought Ross was aloof and appeared more interested in what the kids where up to than in
carrying a conversation with the adults. Ross was simply demonstrating two of his greatest
qualities: concern and being authentic. His concern for all the kids (mine, his and our friends’),
ensuring they were settled and safe, reflect the essence of the individual that | have gotten to
know.

| recall a few specific examples of Ross living his core moral code and qualities. There is
someone in our town who has battled cancer. | will refer to her as “Jane”. Jane's son is a very
energetic boy. With Ross having 3 boys of his own, Jane's son would play with Ross’s boys
regularly as they were in the same general neighborhood. As Jane was recovering from
surgery and dealing with chemotherapy and its side effects, Ross and Lisa were welcoming the
young boy to their home and activities without reservation. Many times, the boy would be in
their house before the McLellan’s would wake up and he simply joined them for breakfast as
Jane was home recuperating. | don’t know this from Ross or Lisa, rather having observed this
when carpooling with Ross to sports activities. There was the boy, welcomed, with Ross & Lisa
giving him a sense of comfort when he needed a level of support & compassion.

On another occasion, Ross and | both volunteered (along with other parents) for a nature retreat
over 2 nights with the local elementary school. Our boys where both in the same 4" Grade
class and the principal arranged for this event that included visits to many natural outdoor
locations on Cape Cod. During one of the outdoor outings, on an unusually warm September
day, the above referenced boys’ mother volunteered too. She was in remission and, given the
amount of physical activity, felt unwell. Quietly, Ross attended to her and took her the
appropriate health service providers. Again, no lime light, just concerned and authentic in
caring for others.
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Ross loves hockey and was a goalie in his younger days. He is a coach and board member of
the local youth hockey program. Ross’s involvement and focus on ensuring the kids had fun
and learned the game created a great environment for many kids. Ross has this ability to
manage the distraction of the politics and bias of the evaluation process and ensure that the
experience of the kids is not tarnished. When invariably there is an issue, like | had with my
younger son, Ross was there to lend an ear and look to ensure my son was treated fairly. In
fact, with all of Ross’s professional challenges 2 days prior to his arrest, unbeknownst to me, he
made time for me to understand my son’s situation. He intervened on my son’s behalf as he
wanted to ensure my son's best interests were being served. In hindsight, he had many more
pressing matters bearing down on him, though he made the time for me given his concern for a
friend and the values he lives daily.

Ross doesn’t like to ask for help and | believe he deplores the notion. Perhaps that’s an
outgrowth of his upbringing or simply because he takes great pleasure in helping others in an
inconspicuous manner. Even when his parents were ailing and passed within a couple months
of each other, he and Lisa stoically addressed the challenge. When my own father passed
away last year, | was overwhelmed when Ross walked through the doors of the funeral home
some 2.5 hours away from Hingham to simply pay his respects to my mom and give me and my
family a hug. Authentic concern and compassion are hallmarks of Ross McLellan.

Ross and Lisa conduct themselves with humility and generosity. That much hasn't changed
despite the ongoing legal process. The toll, however, is evident. Regardless of the outcome of
the trial and his pending sentencing, Ross and his family have already paid an enormous
amount. Notwithstanding the end of his professional career, the economic strain and mistruths
being gossiped, the greatest concern and impact is with his children. The kids have the residual
impact of having to deal with bullies, social media and ignorance of others frequently. That will
not stop anytime soon, if ever. Ross will have to carry that guilt forever, right or wrong, and his
family continues to experience direct punishment for the situation.

| recognize the magnitude of the situation that Ross, and his family, now face. While Ross does
not like to burden others with this, or other, challenges life presents his family, he remains
steadfastly focused on preparing his family for any potential scenario. My intention is to briefly
demonstrate to you the nature of Ross, the attributes of his character and the already exorbitant
price and punishment his family will endure in perpetuity. | hope you agree that incarceration
will not serve his community well and will only further punish his family beyond the loss of his
profession, ongoing financial challenges and harassment that his children have and will
continue to face.

Very sincerely yours,

Joseph M. Guerrero
